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PS.J2
(Rev 07!93)


                                 United States District Co



 United States of America                       )
                                                )
                  vs                            )
                                                )
 Tyrone Gamble                                  )                          Case No. 4:12CR00293-1


                       CONSENT TO MOniFY CONDITIONS OF RELEASE

I, Tyrone Gamble, have discussed with Michelle R. Sims, Pretrial Services/Probation Officer,
modification of my release as follows;

The condition of location monitoring program participation will be removed.

The delendant has been compliant in the location monitoring program for four months and has
been compliant with his supervision requirements. The United States Attorney's office has been
notified ofthis request for modification in the f(mn of a memo and has expressed objection to the
modiiication. Defense Attorney Ronald Davis was also notified and has no objections.

I consent to this modification of my release conditions and agree to abide by this modification.


                                    1~Jt/.. 13~LJ..,w                                     a.'-'~-· Js
                                     Date           Pretrial ServicesJProbation Officer    Date



I have reviewed the conditions with my client and concur that this modification is appropriate.



 Signature of Defense Counsel                             Date


r)<l     The above modification of conditions of release is ordered, to be effective on 3/ 2~/13.
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[J       The above modi Hcation of conditions of release is not ordered.
